

























IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NOS. 74,990 &amp; 74,991

 
 

EX PARTE MARTIN BARTLETT, Applicant







ON APPLICATION FOR WRIT OF HABEAS CORPUS 

FROM TARRANT COUNTY



  Per Curiam.





O P I N I O N




 These are applications for writs of habeas corpus which were transmitted to this Court by the clerk of the trial court pursuant to
the provisions of Article 11.07 of the Texas Code of Criminal Procedure.  Ex parte Young, 418 S.W.2d 824 (Tex. Crim. App.
1967).  Applicant was convicted of the felony offense of driving while intoxicated and sentenced to six years imprisonment. 
Applicant was also convicted of assault to a family member and sentenced to an additional six years imprisonment.  The court
ordered the sentences to run concurrently. Applicant did not appeal these convictions.

 In the instant applications, Applicant contends, inter alia, that he was denied adequate notice that he would be considered for
release on mandatory supervision by the Texas Board of Pardons and Paroles under the discretionary mandatory supervision
statute, Section 508.149 of the Texas Government Code.  As a result, Applicant claims that he was denied the opportunity to
submit relevant information to the Board to review when making their decision; specifically, letters from family members, job
verifications, housing arrangements, and a list of rehabilitative programs which he completed. 

 The trial court has found that Applicant is not entitled to habeas corpus relief. However, after a review of the documentation
submitted by the TDCJ pursuant to an order issued by the trial court and in light of our recent opinion in Ex parte Retzlaff, ___
S.W.3d ___ (Tex. Crim. App. delivered May 19, 2004), delivered after the trial court issued its findings and conclusions, we find
that Applicant is entitled to relief.  The Board shall review Applicant for release on mandatory supervision within sixty days of the
date that the Court's opinion is issued.  In doing so, the Board shall provide Applicant with timely notice of the review, which is to
be held before the fifty-ninth day, and give Applicant at least thirty days to submit any explanatory material he desires for the
Board's consideration when making their determination.  Applicant's remaining allegation is without merit, and therefore denied. 

 Copies of this opinion shall be sent to the Texas Department of Criminal Justice, Correctional Institutions Division, Review and
Release Division, and the Board of Pardons and Paroles Division.



DELIVERED: August 25, 2004

DO NOT PUBLISH 


